Firefox                                                               https://vaed-e-alexapps.adu.dcn/vnetapps/prdb/main/rpt_person.pl




                                           PRISONERS DATABASE




                                                      MAIN PAGE

                                          All Records for Badar Khan Suri
                                                                                                                   Three
          RecordID PrisonerID Name AKA File Date Judge RecDate Office Year CV Num Action Disposition
                                                                                                                   Strikes
                             Badar
          35544        99999 Khan       2025-03-19 Giles   2025-03-19 1     25    cv 480     28:2241
                             Suri
          TOTAL
          RECORDS:1




1 of 1                                                                                                            3/19/2025, 3:51 PM
